       Case 2:19-cv-01224-PLD          Document 479       Filed 04/22/25    Page 1 of 12




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

CHRISTOPHER M. WARMAN, et al.,                     )
                                                   )
                        Plaintiffs,                ) Civil Action 19-1224
                                                   )
                vs.                                ) Magistrate Judge Patricia L. Dodge
                                                   )
LOCAL YOKELS FUDGE, LLC, et al.,                   )
                                                   )
                        Defendants.

                                      MEMORANDUM OPINION

       Plaintiffs Christopher M. Warman (“Warman”), the Trust for Family of Christopher

Warman (the “Trust”) and Chocolate Moonshine, LLC (“Moonshine LLC”) brought this action

against Defendants Local Yokels Fudge, LLC (“Local Yokels”), Christine Falvo (“Falvo”),

Charles Brian Griffin (“Griffin”), Donald Konieczny (“Konieczny”) and CM Chocolatier, LLC

(“Chocolatier”). The Amended Complaint asserts various federal and state law claims, some of

which arise out of Defendants’ alleged use of Plaintiffs’ recipe for making fudge, which they

claimed to be a trade secret. The case was tried before a jury and the jury rendered a verdict in

favor of Plaintiffs, as described below.

       Pending before the Court is Defendants’ Motion For Judgment As a Matter of Law

Pursuant to Fed. R. Civ. P. 50(b) for Plaintiffs’ Failure to Prove That the Alleged Trade Secret

Fudge Recipe Had Independent Economic Value By Reason of Its Being Kept Secret (ECF No.

436). For the reasons that follow, the motion will be denied.

  I.   Relevant Procedural History

       Plaintiffs commenced this action in September 2019 and subsequently filed an Amended

Complaint on August 27, 2020 (ECF No. 51). The Amended Complaint included thirteen counts,

including trade secret misappropriation in violation of the Defend Trade Secrets Act, 18 U.S.C.
          Case 2:19-cv-01224-PLD         Document 479         Filed 04/22/25      Page 2 of 12




§§ 1831-39 (“DTSA”) (Count I) and the Pennsylvania Uniform Trade Secrets Act, 12 Pa. C.S.

§§ 5301-08 (“PUTSA”) (Count II).

          On December 27, 2022, an opinion and order were issued that granted Defendants’ motion

for summary judgment as to Plaintiffs’ trademark and copyright claims and denying it in all other

respects (ECF Nos. 159, 160).

          A jury trial commenced on November 27, 2023, with respect to Plaintiffs’ remaining

claims. At the conclusion of Plaintiffs’ case in chief, Defendants orally moved under Rule 50(a)(1)

for judgment as a matter of law on two grounds: failure to prove independent economic value and

failure to prove reasonable efforts to protect the trade secret. After hearing argument on the matter,

the Court denied the motion on both grounds and the trial proceeded. (ECF No. 342.)

          At the conclusion of the trial, the jury rendered a verdict that the recipe was a trade secret

owned by the Trust, that Defendants Falvo, Konieczny and Local Yokels were liable for trade

secret misappropriation under federal and state law and that Defendant Chocolatier was liable for

unjust enrichment. The jury separately awarded damages against Falvo, Konieczny and Local

Yokels and Chocolatier (ECF No. 288).

          On December 27, 2024, Defendants filed the motion currently under consideration (ECF

No. 436), which has been fully briefed (ECF Nos. 437, 462, 471). 1

    II.   Standard of Review

          Rule 50(b) of the Federal Rules of Civil Procedure provides that a movant may make a

renewed motion for judgment as a matter of law no later than 28 days after the entry of judgment.




1
  Following the trial, the parties engaged in various motions practice and settlement discussions
overseen by the Court. As a result, and with the parties’ consent, judgment on the jury’s verdict
was not entered until December 2, 2024 (ECF No. 423). Defendants’ Rule 50(b) motion was timely
filed within 28 days of the judgment.
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       Case 2:19-cv-01224-PLD           Document 479         Filed 04/22/25       Page 3 of 12




In ruling on the motion, a court may allow judgment on the verdict, order a new trial or direct the

entry of judgment as a matter of law. (Id.)

        The Court of Appeals for the Third Circuit has held that “a judgment notwithstanding the

verdict may be granted under Fed. R. Civ. P. 50(b) only if, as a matter of law, the record is critically

deficient of that minimum quantity of evidence from which a jury might reasonably afford relief.”

In re Lemington Home for the Aged, 777 F.3d 620, 626 (3d Cir. 2015) (citation omitted). In

reviewing the motion, “the court must draw all reasonable inferences in favor of the nonmoving

party, and it may not make credibility determinations or weigh the evidence.” Reeves v. Sanderson

Plumbing Prods., Inc., 530 U.S. 133, 150 (2000) (citation omitted). The Third Circuit has

“cautioned that a court should grant judgment as a matter of law ‘sparingly.’” Pitts v. Delaware,

646 F.3d 151, 155 (3d Cir. 2011) (citation omitted). “The court must consider the entire record of

evidence from trial . . . to decide the Rule 50(b) motion. Kramer v. Grillo, 2018 WL 1755389, at

*1 (W.D. Pa. Apr. 12, 2018) (citing Trustees of Univ. of Pa. v. Lexington Ins. Co., 815 F.2d 890,

903 (3d Cir. 1987)).

III.    Discussion

        A trade secret is “defined generally as information with independent economic value that

the owner has taken reasonable measures to keep secret.” Oakwood Laboratories LLC v. Thanoo,

999 F.3d 892, 905 (3d Cir. 2021) (citing 18 U.S.C. § 1839(3)). In order for information to constitute

a trade secret, it must, among other things:

        derive[] independent economic value, actual or potential, from not being generally
        known to, and not being readily ascertainable through proper means by, another
        person who can obtain economic value from the disclosure or use of the
        information;

18 U.S.C. § 1839(3)(B). See also Elmagin Capital, LLC c. Chao Chen, 2024 WL 2845535 (3d Cir.

Mar. 21, 2024); Synopsys, Inc. v. Risk Based Security, Inc., 70 F. 4th 759, 774 (requiring proof not

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      Case 2:19-cv-01224-PLD            Document 479       Filed 04/22/25     Page 4 of 12




only of economic value but value of trade secret “arising from [its] remaining secret”). The PUTSA

contains a nearly identical provision. 12 Pa. C.S. § 5302. See Mallet & Co. Inc. v. Lacayo, 16 F.4th

364, 381 n.19 (3d Cir. 2021) (“the DTSA and the PUTSA are substantially similar” with “almost

identical” trade secret definitions).

        Factors to be considered in evaluating whether a trade secret exists include:

        (1)the extent to which the information is known outside of the owner's business; (2)
        the extent to which it is known by employees and others involved in the owner's
        business; (3) the extent of measures taken by the owner to guard the secrecy of the
        information; (4) the value of the information to the owner and to his competitors;
        (5) the amount of effort or money expended by the owner in developing the
        information; and (6) the ease or difficulty with which the information could be
        properly acquired or duplicated by others. Restatement of Torts § 757 comment b
        (1939); International Election Systems Corp. v. Shoup, 452 F. Supp. 684, 706 (E.D.
        Pa. 1978), aff’d, 595 F.2d 1212 (3d Cir. 1979).

SI Handling Systems, Inc. v. Heisley, 753 F.2d 1244, 1256 (3d Cir. 1985). 2

        Defendants acknowledge that Warman testified about what he characterized as the

economic value of his recipe. They argue, however, that he provided no plausible basis, other than

his own self-serving observations, from which a jury could have found in Plaintiffs’ favor on this

issue, and this was the sole evidence offered to establish economic value. In support of their

argument, Defendants rely in part on a series of decisions holding that the plaintiff had not

established independent economic value. See Spirits v. Ragghianti, 2024 WL 3177773, at *4 (3d

Cir. June 26, 2024) (dismissing DTSA claim because “it does not allege that either the recipes or

the labels derived independent economic value from not being generally known, nor does it allege

any facts from which that claim might plausibly be inferred.”); Contour Data Sols. LLC v.



2
  Expert testimony is not required to demonstrate that a trade secret has independent economic
value. See, e.g., Bimbo Bakeries USA, Inc. v. Botticella, 613 F.3d 102, 110 (3d Cir. 2010)
(affirming order granting preliminary injunction where district court found that recipe for English
muffins was a trade secret without relying on expert testimony).

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      Case 2:19-cv-01224-PLD             Document 479         Filed 04/22/25       Page 5 of 12




Gridforce Energy Mgmt. LLC, 2024 WL 3970455, at *17 (E.D. Pa. Aug. 28, 2024) (cybersecurity

system did not have independent economic value based on its secrecy because such systems may

be kept secret for various reasons unrelated to preserving their value, the extensive work of the

engineering team alone could not establish it, and the cost of recreating it only showed that there

was nothing particularly secret about it); Health Care Facilities Partners, LLC v. Diamond, 2023

WL 3847289, at *10-11 (N.D. Ohio June 5, 2023) (conclusory statements of economic value in an

affidavit were insufficient to withstand summary judgment); State ex rel. Besser v. Ohio State

Univ., 732 N.E.2d 373, 378 (Ohio 2000) (same); Green Crush, LLC, v. Paradise Splash I, Inc.,

2019 WL 8640654, at *9 (C.D. Cal. Nov. 25, 2019) (same). 3 Unlike this case, all of these decisions

were at the summary judgment or motion to dismiss stage.

        In this case, the jury heard extensive testimony from Warman on both direct and cross-

examination on the issue of economic value. Regarding the development of his fudge recipe, he

testified that he began experimenting in 1984 to create “the perfect fudge” and continued to do so

until it was perfected in 1989. (ECF No. 462-1 at 10:20-22, 12:19-23; 18:5-19; 24:4-10.) He met

with various experts in the field of fudge making. (Id. at 17:21-25.) Warman also purchased a

fudge recipe from Annette Saucier in 1988 for approximately $100,000 to $140,000. (Id. at 16:1-

17; 135:13-20.) 4 However, it “was not viable for national distribution.” (Id. at 19:5-20:4; 21:3-11.)




3
  In Buffets, Inc. v. Klinke, 73 F.3d 965 (9th Cir. 1996), another case on which Defendants rely,
the Court of Appeals for the Ninth Circuit affirmed a district court’s holding on summary judgment
that that a restaurant chain failed to demonstrate that certain recipes had independent economic
value. Buffets is distinguishable for several reasons: the recipes could easily be discovered by
others; while the plaintiff claimed that limiting food costs was crucial to its profitability, the recipes
played no part in limiting costs; and because the recipes had to be simplified any economic benefit
came from the “translated” versions of the recipes. Id. at 968-69.
4
  Defendants point to Warman’s contradictory testimony that he purchased the recipe from Saucier
for only $20,000 and that he spent another $120,000 for the right to sell the fudge in the New
England area. (ECF No. 441 Ex. B at 9.) Nevertheless, it was the province of the jury to resolve
                                                        5
      Case 2:19-cv-01224-PLD           Document 479        Filed 04/22/25      Page 6 of 12




The final fudge recipe he created was different from Saucier’s recipe. (Id. at 24:8-26:7.) Warman

claimed that he was losing batches of fudge frequently with the Saucier recipe, but after he created

the trade secret recipe, Warman did not lose a single batch of fudge. (Id. at 25:22-25.) 5

       Thus, according to Warman, he spent a significant amount of time, money and effort to

develop the fudge recipe. Although Defendants cross-examined him at some length on this issue,

including his statement that the formula was ultimately from a divine source, there was sufficient

evidence for the jury to conclude that Warman did, in fact, develop a fudge recipe. And while

Defendants presented evidence during the trial regarding the number of fudge recipes that exist in

the public domain, Warman testified that his recipe was unique and unlike any of these recipes. It

was within the province of the jury to weigh the credibility of Warman’s testimony.

       With respect to the value of the trade secret, Warman testified that since 1989, when he

claims to have created the trade secret fudge recipe, he has sold fudge using recipe at large retail

stores such as Costco, Sam’s Club, Walmart, BJ’s Wholesale Club, and Hickory Farms. (Id. at

26:13-18; 31:3-10; 35:9-12; 38:4-10; 52:6-8.) He has also sold fudge on QVC and through

Hershey. (Id. at 26:13-22; 35:9-22.) According to Plaintiffs, as of the trial date, Warman had sold

hundreds of thousands of gift boxes of fudge on QVC and his product was QVC’s number-one

selling fudge. (Id. at 26:21-22; 56:3-7.) 6 In 2018, Warman appeared on “Good Morning America”



any potential conflicts in the testimony and in resolving a Rule 50(b) motion, the Court must draw
all reasonable inferences in favor of the nonmoving party.
5
  Defendants argue that Warman first spent years and hundreds of thousands of dollars to develop
a recipe but failed, then “he prayed, put his own work aside, and bought a recipe.” (ECF No. 471
at 2.) They cite no authority to support their implication that “the amount of money and effort
spent in developing the information” cannot be considered if the final version is the result of
“inspiration.”
6
   Defendants contend that “none of the QVC purchasers—by definition—had ever tasted
Warman’s fudge in the first place.” (ECF No. 471 at 3.) They provide no support for this statement
nor do they explain why this is relevant to the value of the trade secret to Plaintiffs or their
competitors.
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      Case 2:19-cv-01224-PLD           Document 479         Filed 04/22/25      Page 7 of 12




and sold $187,000 of fudge within several minutes. (Id. at 56:10-11.) 7 Warman was awarded a

contract to sell his fudge in Hershey’s first Super Store in Niagara Falls, Canada. (Id. at 35:18-22.)

In its Super Store, Hershey was selling 4,000 pounds of fudge per week. (Id. at 35:23-25.)

According to Warman’s calculations, he has sold at least seven million pounds of fudge since he

created the trade secret fudge recipe in 1989. (Id. at 25:22-26:22.)

        Based on Warman’s testimony about fudge sales and distribution, Plaintiffs argue that the

commercial success of Warman’s trade secret fudge recipe constitutes evidence of independent

economic value. They argue that a jury could reasonably conclude—and in this case did

conclude—that the recipe gave Warman’s businesses a competitive advantage.

        At the same time, Defendants elicited testimony from Warman at trial regarding the failure

of many of his businesses. According to Defendants, none of the businesses that sold fudge did so

profitably. In 2000, Christopher M’s filed for bankruptcy. (ECF No. 439 Ex. A at 37.) After the

bankruptcy, Warman went through another business, Big Daddy Chocolate Shop, and then in 2003,

began using the Fudgie Wudgie brand. (Id. at 41-42.) After additional difficulties, Warman filed

for personal bankruptcy in 2007. (Id. at 119.) Defendants note that despite Warman’s

unsubstantiated claim that the company made $1 million in 2008, the year it started in business,

that company also failed, amassing significant debts, at one point exceeding $3 million and going

out of business in 2011. (Id.) 8

        Warman also claimed that he “could have” sold $100 million worth of product if various




7
  Defendants contend that Warman was lying because he was selling chocolate, not fudge, on this
program. (ECF No. 471 at 3.) They support this assertion by citing to a hyperlink of a video clip
of the program. However, this evidence was not presented to the jury during the trial.
8
  Plaintiff Moonshine LLC was using the recipe to make and sell fudge as of the trial date.


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      Case 2:19-cv-01224-PLD          Document 479         Filed 04/22/25     Page 8 of 12




problems had not arisen. (Id. at 146-47.) He admitted having mold problems with fudge he

manufactured for Hershey. 9 In order to stay in business, he perpetually needed more money and

was unable to pay his taxes (id. at 151; Ex. C); was required to bring in outside investors (Ex. A

at 156-57; Ex. D); and created a preferred class of stock to infuse cash into his businesses. He had

to borrow additional money from the preferred stockholder and give up additional stock in the

company (Ex. E) and was unable to pay the preferred stockholder the dividend he had agreed to

pay (Ex. A at 176-77). And despite Warman’s claim at trial that he had “wild success” supplying

Costco Wholesale, Sam’s Club, and Walmart (Ex A at 37-38), the company’s Sam’s Club and

Walmart operations had to be phased out because they were not performing financially. (Ex. I.) 10

       Based on the evidence presented at trial, it cannot be reasonably disputed that many of

Warman’s companies in the business of making and selling fudge experienced financial

difficulties, or that the fudge provided to Hershey had quality issues. Whether this reflects the

value of the trade secret is a different matter, however. The fact that Warman made poor business

decisions (ECF No. 462 Ex. 1 at 39-41), that his businesses were not profitable or even that he

may not be adept in financial matters does not conclusively show that the fudge recipe lacked



9
  Warman was forced to take back 500,000 pounds of fudge and, according to him, this resulted in
millions of dollars in losses. (Ex. A at 49; Ex. B at 65.) However, the cancellation of the parties’
contract by Hershey after one of Warman’s companies delivered a batch of moldy fudge does not
conclusively prove that the recipe lacked independent economic value, particularly when the only
testimony offered about this issue was Warman’s and he represented that the mold came from the
box manufacturer. (ECF No. 462 Ex. 1 at 48:14-49:23, 50:8-20.) No one called a representative of
Hershey as a witness at trial.
10
   Defendants also point out that Warman claimed without any corroborating evidence that his
fudge was the “best in the world,” and it tasted better than “any other fudge in the world.” (ECF
No. 439 Ex. A at 11.) He also testified that the fudge made by other companies was “inedible.”
(ECF No. 441 Ex. B at 44.) Plaintiffs did not rely on these admittedly self-serving statements to
establish the recipe’s independent economic value, however. Defendants speculate, without any
record evidence, that “Millions of people purchase fudge with a doctoring agent, suggesting that
consumers like the taste of fudge with doctoring agents better than fudge without it.” (ECF No.
437 at 9.)
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      Case 2:19-cv-01224-PLD              Document 479       Filed 04/22/25   Page 9 of 12




independent economic value. Despite his business failings, he has sold, by his account, millions

of pounds of fudge using his recipe. Thus, there was sufficient evidence from which a jury could

conclude that the recipe had economic value to Plaintiffs.

       The sales volume of Plaintiffs’ fudge also provides evidentiary support that Defendants

could gain economic value by accessing and using the recipe. This evidence suggests that if the

recipe was acquired and used by Defendants, it could improve their ability to sell fudge or compete

with Warman. Thus, because Defendants could obtain economic value from the use of the recipe,

a reasonable jury could conclude that the recipe derives independent economic value from not

being generally known. See Trandes Corp. v. Guy F. Atkinson Co., 996 F.2d 655, 663 (4th Cir.

1993). In fact, as reflected in the record, for a period of time until mid-2019, Falvo had a license

to produce fudge using the trade secret formula. See ECF 290, Ex. 2 (“my wife is no longer

authorized to produce fudge using my formula”); Ex. 4 (reference to revoking Falvo’s license to

use the trade secret recipe for fudge).

       It next becomes necessary to determine whether, based on the evidence presented, a jury

could reasonably conclude that Plaintiffs took sufficient measures to keep the recipe secret. See

Oakwood Labs., 999 F.3d at 913 (“The trade secret’s economic value depreciates or is eliminated

altogether upon its loss of secrecy”); Synopsys, 70 F. 4th at 771 (“not everything with commercial

value constitutes a trade secret”); Strombeck v. New Line Cinema, 384 F.3d 283, 305 (6th Cir.

2004) (a trade secret derives value from its secrecy).

       As reflected in the evidence presented at trial, there are any number of fudge recipes

generally available, but Warman testified that his recipe was unique and unlike any other. In their

case in chief, Plaintiffs introduced at trial and presented testimony regarding a document

developed by Warman entitled: “Formulation Information Trade Secret Hand Made Fudge



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      Case 2:19-cv-01224-PLD            Document 479         Filed 04/22/25       Page 10 of 12




Formula” dated August 20, 2013. The document states on its cover page: “Confidential-Do not

Reproduce.” (See ECF No. 290, Ex. 1.) It includes information about the elements of the trade

secret and states, among other things:

        No utilization of [the trade secret fudge formulation] is authorized without the
        express written consent of Christopher M. Warman…All information concerning
        ingredients, processing of, and production of fudge products utilizing the [trade
        secret formulation], whether by oral or written communication or by observation,
        shall be treated and regarded as confidential, proprietary and trade secret
        information…Authorized recipients of this [trade secret formulation] shall keep it
        strictly confidential and secret…

Id. at 2.

        Plaintiffs also introduced four separate confidentiality agreements between certain of

Warman’s companies and employees at various times between 2018 and 2021. Each agreement

references trade secrets, including recipes and formulas, and includes the employee’s agreement

not to use or disclose trade secrets, and other confidential information. (Id. Exs. 10-13.) Also

admitted into evidence was an undated and unsigned letter to Falvo in which Warman demanded

that she stop using the “Trade Secret recipe for fudge” and stated that he had done “everything in

[his] power to keep the fudge recipe a Trade Secret,” including (1) only licensing its use to those

necessary to make fudge under his or family member supervision; (2) keeping the only copy of the

trade secret in a secure place; (3) making sure that anyone who needed access to it agreed to keep

it confidential and not use it; and (4) enforcing it against third parties. (Id. Ex. 4.)

        Thus, Plaintiffs provided sufficient evidence to the jury that they took reasonable steps to

protect the secrecy of the fudge recipe.

        While it is not dispositive on this issue, some of the same issues were addressed in

Christopher M’s Hand Poured Fudge, Inc. v. Hennon, 699 A.2d 1272 (Pa. Super. 1997), appeal

denied, 717 A.2d 1026 (Pa. 1998). Warman’s former company, Christopher M’s, sued a former



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      Case 2:19-cv-01224-PLD           Document 479        Filed 04/22/25      Page 11 of 12




employee, Clyde Hennon, for misappropriating the same fudge recipe at issue in this case. The

Court of Common Pleas issued a permanent injunction and, on appeal, the Pennsylvania Superior

Court affirmed the decision, noting that:

        At the hearing, Warman testified that he derived Christopher M’s recipe after
        several years of trial and error from a recipe that he had purchased for $140,000
        from a New England candy maker. Warman stated that certain aspects of
        Christopher M’s recipe were unique and not utilized by other fudge manufacturers
        …Further, Warman testified that he took great care to keep the recipe secret. The
        precautions that he followed included: keeping only one written copy of the recipe
        and storing it off the premises of his business; compartmentalizing the
        manufacturing process, so that most employees would know only the portion of the
        recipe relating to their specific manufacturing tasks; and revealing the entire recipe
        to very few key employees. Finally, Warman testified that the recipe had a
        multimillion-dollar value.

        We conclude that Warman’s testimony is sufficient to establish that the recipe is a
        trade secret. Before Hennon left the company, the recipe was not known outside of
        Christopher M’s; Warman expended a large sum of money and a great deal of effort
        in developing the recipe; Warman took steps to keep the recipe a secret within the
        company; and Warman testified that the recipe was valuable. This evidence is
        sufficient to establish that the recipe is a trade secret.

Id. at 1275 (record citations omitted). 11

        Thus, Defendants have failed to demonstrate that the record is “critically deficient of that

minimum quantity of evidence from which a jury might reasonably afford relief.” As the Court of

Appeals has noted, “The test is a stringent one because a Rule 50(b) motion implicates the right to

a trial by jury embodied in the Seventh Amendment.” Watcher v. Pottsville Area Emergency Med.

Servs., Inc., 248 F. App’x 272, 280 (3d Cir. 2007). Therefore, the motion judgment as a matter of

law will be denied.




11
   The Court recognizes that his decision was based on a record developed in conjunction with an
injunction. Nonetheless, it provides some evidence that Warman developed a recipe and sought to
keep his recipe a secret.
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      Case 2:19-cv-01224-PLD        Document 479        Filed 04/22/25     Page 12 of 12




IV.    Conclusion

       For the reasons set forth herein, Defendants’ Motion for Judgment as a Matter of Law

Pursuant to Fed. R. Civ. P. 50(b) for Plaintiffs’ Failure to Prove That the Alleged Trade Secret

Fudge Recipe Had Independent Economic Value by Reason of Its Being Kept Secret (ECF No.

436) will be denied.

       An appropriate order will follow.



April 22, 2025                                     BY THE COURT:

                                                   s/Patricia L. Dodge
                                                   PATRICIA L. DODGE
                                                   UNITED STATES MAGISTRATE JUDGE




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